                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
                       Plaintiff,           )
                                            )
v.                                          )      Case No. 13-00291-07-CR-W-BCW
                                            )
WILLIAM F. PARRY,                           )
                                            )
                       Defendant.           )


                             REPORT AND RECOMMENDATION

          This matter is currently before the Court on defendant William F. Parry’s Motion to

Suppress (doc #198). For the reasons set forth below, it is recommended that this motion be

denied.

                                      I. INTRODUCTION

          On August 13, 2013, defendant William F. Parry, along with seventeen others, was

charged by indictment.1 On September 10, 2013, the government was granted leave to amend

the indictment. Defendant Parry is charged in nine counts 2 of this forty-four count indictment—

Count 1 (conspiracy to commit wire fraud and contraband cigarette trafficking); Counts 2, 5, 6

and 8 (trafficking in contraband cigarettes); and Counts 21, 22, 37 and 38 (wire fraud). The

remaining counts of the indictment charge various other defendants with trafficking in

contraband cigarettes, wire fraud and a conspiracy to launder the proceeds of trafficking in



1
  Defendant Parry is also charged with two counts of wire fraud in Case No. 12-00307-01-CR-W-
BCW. Case No. 12-00307 has been consolidated for trial with Case No. 13-00291-01/18-CR-W-
BCW.
2
  While the caption of the indictment lists defendant Parry as included in Counts 9 and 10, the
actual charges contained in Counts 9 and 10 do not include defendant Parry.


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contraband cigarettes.

        While defendant Parry has requested a hearing if the Court is not inclined to suppress all

evidence and fruits of the search based on his written motion, it does not appear that an

evidentiary hearing is necessary as defendant is challenging only the probable cause for and

scope of the search warrant. “In reviewing the validity of a search warrant, a court is limited to

the information and circumstances contained within the four corners of the underlying affidavit.”

United States v. Stanert, 762 F.2d 775, 778 (9th Cir. 1985). The motion will, therefore, be ruled

based on the “information and circumstances contained within the four corners of the underlying

affidavit.”

                                       II. THE AFFIDAVIT

        The Affidavit, given in support of a search warrant for Wolf’s Run, 1412 Route 438,

Irving, New York 14081 (also known as 12795 4 Mile Level Road) provides in part:

                11.    I believe, based on my knowledge of this investigation, that Craig
        SHEFFLER, through CTW, coordinated the contraband cigarette transactions
        described herein. Based on experience and knowledge of this investigation, I
        believe that PARRY, through Wolf’s Run, facilitated the transportation of these
        contraband cigarettes in coordination with CTW in order to bring these
        contraband cigarettes into New York State. As a result of this coordination,
        PARRY has participated in a conspiracy that includes money laundering, mail and
        wire fraud, and violations of the CCTA. This affidavit summarizes some of the
        acts done in furtherance of that conspiracy. Further, I believe, based on my
        knowledge of this investigation, that PARRY committed and attempted to commit
        wire fraud by setting up a September 26, 2012, transaction for stolen, unstamped
        cigarettes. The affidavit also summarizes that incident.

                                              * * *

                 25.     States, excluding North Carolina, South Carolina and North
        Dakota, require cigarettes purchased for resale to a have a tax stamp to be sold to
        a retail outlet. Cigarettes transferred to other wholesalers, both within and outside
        the state, must also be reported to the Department of Revenue of the licensee
        selling the cigarettes and by the wholesaler receiving the product. The total
        amounts of cigarettes reported to the state include both stamped and unstamped
                                                   2




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 cigarettes. A wholesaler must also have a license for each state for which they are
 stamping.

         26.    As part of this regulatory scheme, New York State Department of
 Taxation and Finance (NYDTF) pre-collects an excise tax of $4.35/pack and sales
 tax of $0.61/pack from wholesalers for sales to Indian nations and tribes as a
 result of Chapter 134 of the Laws of 2010. New York State provides Indian
 nations and tribes with two options: 1) use a tax-exempt coupon system with
 coupons issued by the state, or 2) wholesalers must receive prior approval from
 NYDTF to make tax-exempt sales to Indian nations or tribes. This law was
 challenged by multiple Indian nations in both federal and state courts, all ending
 in rulings favorable to New York State. One of those cases includes Oneida
 Nation of New York v. Cuomo, 645 F.3d 154 (2d Cir. 2011), decided on May 9,
 2011. In this decision, the Second Circuit Court of Appeals held that the plaintiffs
 (multiple Indian nations and tribes) failed to demonstrate that New York State’s
 system imposed an unnecessary economic burden and interfered with their rights
 of self-government. On or about June 21, 2011, the NYDTF implemented the
 coupon and prior-approval system and announced as such on their website. On
 July 15, 2011, New York Government Andrew M. Cuomo announced the results
 of the new cigarette tax enforcement efforts.

         27.    In regards to this case, ATF undercover agent (UC) Wes
 Williamson sold unstamped contraband cigarettes directly to William PARRY in
 New York State. PARRY has not reported to New York State as purchasing
 cigarettes from UC Williamson or anyone else.

                                       * * *

         30.    William PARRY is the sole proprietor of Wolf’s Run, which is
 actually made up of two entities, Wolf’s Run Transport and Wolf’s Run Car
 Wash, both of which are operated out of the same address of 1412 Route 438,
 Irving New York 14081 (also known as 12795 4 Mile Level Road). Both are
 collectively referred to as Wolf’s Run throughout this affidavit. The actual
 property consists of several structures, including the above-mentioned warehouse
 with attached/adjoining residence and a convenience store. According to the New
 York State Department of Taxation and Finance, William PARRY and/or Wolf’s
 Run has never registered or licensed as a Wholesale Dealer of Cigarettes, a
 Distributor of Tobacco Products or as a Wholesale Dealer of Tobacco Products in
 New York. Therefore, according to the CCTA, PARRY and/or Wolf’s Run
 cannot possess or receive in excess of 10,000 cigarettes.

                         HISTORICAL INVESTIGATION

         31.   In December 2009, ATF agents initiated an investigation into the
 illegal sales of contraband cigarettes occurring in Kansas City, Missouri.
                                       3




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 Investigators developed information that James Aboud and Craig SHEFFLER
 supplied convenience stores in the Kansas City Metropolitan Area with cigarettes
 through Cheap Tobacco Wholesale (CTW).

         32.     From August 2010 through January 2012, UC Williamson and
 other undercover ATF special agents acting as … unlicensed wholesalers
 conducted over 65 undercover cigarette transactions with targets of the
 investigation. The majority of these transactions were arranged between UC
 Williamson and CTW. The subjects engaged in these transactions and schemes in
 order to avoid the accurate reporting of cigarettes for tax-evasion purposes, which
 include New York State. The following contains summaries of these transactions
 involving contraband cigarettes sold by ATF undercover agents to CTW and other
 subjects which relate to PARRY and/or other drivers transporting contraband
 cigarettes for Wolf’s Run on PARRY’s behalf.

             The following describes an April 14-15, 2011, transaction.

         33.   On April 15, 2011, ATF UCs sold a total of 127,800 packs (213
 cases) to Aboud which were then sold to Gholamreza “Reza” TADAIYON. The
 following events occurred in relation to this transaction:

               A.       On April 14, 2011, TADAIYON arrived at the ATF UC
        warehouse (located in Kansas City, Missouri) in a Penske rental truck with
        Salvatore Tornabene, who is an employee of PARRY and Wolf’s Run.
        While waiting for wire transfers to pay for the cigarettes, TADAIYON
        attached labels to each pallet of cigarettes and loaded the cigarettes in the
        Penske truck. These labels indicated that the cigarettes were going to
        three locations: 1) AJs Wholesale, 12587 Route 438, Irving, NY; 2)
        Arrowhawk Smoke Shop, 852 Bloomingdale Rd, Basom, NY; and 3)
        Totem Pole, 1031 Ledge Rd, Basom, NY. All of these are on Indian
        Country ….

                B.      TADAIYON stated that he makes the bill of lading and a
        shipping letter for each shipment. TADAIYON discussed how he uses the
        cover of the Indian tribes to transport cigarettes and other products that
        Wolf’s Run ships. TADAIYON showed SA Williamson a piece of paper
        with the name of William PARRY. TADAIYON and Tornabene
        identified PARRY as the owner of Wolf’s Run.

               C.     Tornabene claimed that they rented the Penske truck under
        the sovereign nation, which made the truck part of the sovereign nation
        and prevented anyone but the federal authorities from searching the truck.
        The truck was set for drop off in Angola, New York, which is near the
        Cattaraugus Reservation and PARRY’s business, Wolf’s Run. Due to a

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        delay of the wire transfer, the cigarettes did not depart the ATF UC
        warehouse until April 15, 2011.

                D.      On April 15, 2011, Tornabene told UC Williamson that this
        was the ninth or tenth deal that his boss (PARRY) had done with
        TADAIYON. Tornabene said that [in] the other deals PARRY was the
        recipient of the cigarettes but on this transaction, PARRY was only part of
        the transportation. SA Williamson and Tornabene discussed selling
        cigarettes directly to PARRY. Tornabene stated that he had just spoke[n]
        with PARRY about buying the load. Tornabene stated that PARRY was
        trying to get the money into an account in the event that PARRY needed
        to purchase the load.

                                     * * *

                  The following describes a June 23, 2011, transaction.

         34.      On June 23, 2011, UC Williamson and UC Lester sold a total of
 246,000 packs (410 cases) of contraband cigarettes to CTW. Piotr HOFFMANN,
 a driver later associated with TADAIYON, was present during the transaction and
 obtained 75,600 packs (126 cases) from CTW. The following events occurred in
 relation to this transaction:

                A.     During this transaction, TADAIYON used Juma Brothers
        as a proxy to purchase the cigarettes from CTW, which CTW bought from
        UC Williamson. HOFFMANN carried documents which showed that the
        cigarettes were being sold to “Jume Bros. in Portsmouth, Virginia.”
        Hoffmann also had a set of printed directions to Virginia which included a
        map. Your affiant believes that these documents would be provided to
        law enforcement in the event of a traffic stop.

                B.     HOFFMANN was driving a Penske rental truck. This truck
        was rented in Kansas City under the name of Wolf’s Run out of Irving,
        New York. The truck was set for drop off in Angola, New York, which is
        near the Cattaraugus Reservation and PARRY’s business.

                                     * * *

                   The following describes a July 14, 2011, transaction.

         35.   On July 14, 2011, ATF UC agents sold a total of 253,500 packs
 (422.5 cases) of contraband cigarettes to CTW. Mark BISHOP, a driver for
 TADAIYON, was present during the transaction and obtained 79,200 packs (132
 cases) from CTW. The following events occurred in relation to this transaction:

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                A.     This is the first transaction that occurred after two key
        events. The first is that IRS-CI and FBI executed a search warrant of
        Juma Brothers in Chesapeake, VA. Second, New York State began
        aggressively enforcing the prepayment of excise and sales taxes on the
        sales of cigarettes to Indian nations and tribes within New York State.
        These events appear to have influenced the method of delivery the
        conspirators chose. This is evidenced by the fact that Juma Brothers was
        eliminated as a proxy for TADAIYON and that the cigarettes were
        delivered to HO-Chunk, Inc. (HCI) in Nebraska after being purchased
        from ATF UC agents and CTW.

               B.     Mark BISHOP arrived for this transaction in a U-Haul
        truck which had been rented on July 14, 2011, in the Kansas City area
        under the name of Wolf’s Run. …

                                      * * *

                D.      Based on the analysis of records, your affiant believes that
        subjects of the investigation conspired amongst themselves and others to
        broker, facilitate, promote, and conceal the sale of contraband cigarettes to
        smoke shops in New York by providing false reports to Missouri, thus
        defrauding New York State of tax revenue.

                E.      Based on the above facts, your affiant believes that the
        conspirators agreed to use the cover of HCI to deliver cigarettes to smoke
        shops in New York State or elsewhere under the color of what is often
        referred to as nation-to-nation shipments. HCI already openly distributes
        tribal produced cigarettes and tobacco to businesses located on other
        Indian nations and tribes. HCI can easily conceal the contraband
        cigarettes with the shipments they already make.

                The following describes a September 15, 2011 transaction.

         36.   On September 15, 2011, UC Williamson and UC Lester sold
 212,400 packs (354 cases) on unstamped cigarettes to CTW. HOFFMANN took
 custody of 82,800 packs (138 cases) of Marlboro and lied when he stated that he
 was taking them to Virginia. The following events occurred in relation to this
 transaction:

                                      * * *

                B.     On September 16, 2011, around 8:40 a.m., surveillance
        personnel observed Craig SHEFFLER standing outside of the CTW
        warehouse. Surveillance personnel also observed unknown individuals
        transferring cigarettes into a Budget truck with Oklahoma plates. At
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        approximately 9:10 a.m., surveillance personnel observed HOFFMANN
        leave the CTW parking lot driving the Budget truck. At approximately
        9:30 a.m., surveillance personnel observed HOFFMANN arrive at a
        nearby 7-11 and meet with TADAIYON. … During a subsequent vehicle
        stop, Trooper Carnagey identified HOFFMANN as the driver and
        TADAIYON as the passenger. Carnagey was shown documentation for
        the load of cigarettes which included a bill of lading …. The bill of lading
        … listed the carrier as being Wolf’s Run. …

                                       * * *

                E.      CTW invoiced BNC with number 9693 on September 14,
        2011. CTW invoice 9693 was for 54,000 packs (90 cases) of Marlboro
        and 28,800 packs (48 cases) of Newport, which corresponds with the load
        picked up by HOFFMANN at the ATF UC warehouse. These 138 cases
        had already been sold through SCTC to Totem Pole and Wolf’s Run. In
        addition to the wires, the emails show that SCTC sold part of this cigarette
        load to PARRY.

                F.      Based on the analysis of records as summarized above,
        your affiant believes that subjects of the investigation brokered, facilitated,
        promoted, and concealed the sale of contraband cigarettes to smoke shops
        in New York State, including Totem Pole and Wolf’s Run, by providing
        false reports to Missouri. Wolf’s Run shipped the cigarettes and failed to
        obey the prepay tax system set up by New York State, thus defrauding
        New York State of tax revenue. …

                                       * * *

                  Description of an October 13, 2011, transaction.

        38.     On October 13, 2011, ATF Special Agents Matt Wilson, Harry
 Lett, Randy Roberts and Kansas City, Missouri Police Department Detective
 Chad Herriman established surveillance around the ATF UC warehouse in Kansas
 City, Missouri. At approximately 12:10 p.m., surveillance crews witnessed a
 small white box truck arrive and park in front of the UC warehouse. From
 previous surveillances conducted, this particular vehicle was known to be used by
 CTW when purchasing contraband cigarettes. At approximately 12:21 p.m., a U-
 Haul truck bearing Arizona license plates and a white Penske truck bearing
 Indiana license plates arrived at the UC warehouse. The Penske vehicle was later
 determined to be driven by Piotr HOFFMANN and the U-Haul was driven by
 Mark BISHOP. Then at approximately 12:35 p.m., Nicole SHEFFLER (Craig
 SHEFFLER’s wife) arrived at the UC warehouse. At approximately 12:41 p.m.,
 Craig SHEFFLER arrived at the UC warehouse. UC Williamson sold 258 cases
 of Marlboro cigarettes and 96 cases of Newport to CTW. Craig SHEFFLER paid
                                          7




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 $638,240.00 in U.S. Currency for the cigarettes and wrote a check for the balance
 of $10,000.00. The check was written on CTW’s bank account.

                 A.     At approximately 12:53 p.m., HOFFMANN left the UC
        warehouse driving the white Penske truck. HOFFMANN drove to the
        Holiday Inn Express Hotel, 1995 Macon Street, North Kansas City,
        Missouri, arriving at approximately 1:03 p.m., and parked the vehicle in
        front of the hotel. HOFFMANN met with William PARRY in the parking
        lot of the hotel. PARRY took a bag out of a 2012 grey Jeep vehicle with
        Illinois license plates and put it into the white Penske truck. PARRY got
        into the driver’s seat of the white Penske truck and drove away.
        HOFFMANN stayed at the hotel with the Jeep vehicle. PARRY got onto
        the interstate and began driving south on Interstate 35 then turned
        eastbound on Interstate 70.

                                      * * *

               C.    Surveillance followed the truck to the Terra Haute, Indiana
        area where surveillance was terminated per ATF Special Agent Teddy
        Horton. The vehicle was last seen continuing eastbound on Interstate 70.

                D.      On October 14, 2011, ATF SA Wilson spoke with ATF
        Special Agent Steve Dickey, New York Field Division, who advised that
        law enforcement conducted surveillance of Wolf’s Run located in Irving,
        New York. ATF Special Agent Robert Wilson, U.S. Border Patrol Agents
        Larry Jay, Phillip Knapp and William Farnham were all present during
        this surveillance.

                E.      SA Dickey observed the white Penske truck arrive at
        Wolf’s Run at approximately 8:31 a.m. SA Dickey was able to confirm it
        was the same vehicle via the license plate and truck number previously
        provided by Agent Wilson. SA Dickey observed the vehicle pulled to the
        right side of the rear building after entering the Wolf’s Run parking lot at
        1412 Route 438, Irving, New York 14081. At approximately 8:38 a.m.,
        Border Patrol Agents Jay and Knapp watched the truck pull up to the rear
        of the building near the garage door, the garage door opened and the
        vehicle started backing inside. At approximately 8:39 a.m., Border Patrol
        Agent Farnham observed the garage door closing and the truck parked
        inside the building. Once the vehicle was inside the building, the agents
        saw no further activity and terminated the surveillance.

                     Description of a December 16, 2011, transaction.

      39.     On December 08, 2011, UC Williamson telephoned William
 PARRY at the telephone number of 716-319-8568. During the call, PARRY said
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 that he was back in New York. UC Williamson told PARRY that UC Williamson
 would be coming up the following week. UC Williamson read off PARRY’s
 order and agreed to double it from the earlier request. UC Williamson told
 PARRY that UC Williamson needed cash and they agreed on pricing. PARRY
 provided the address of 1412 Route 438, Irving, New York 14081 (the location of
 Wolf’s Run) for the delivery.

               A.     On December 16, 2011, at approximately 10:48 a.m., ATF
        UC’s Williamson and Labno drove to 1412 Route 438, Irving, NY 14081,
        Wolf’s Run. UC Williamson drove to the gas pump area near the
        convenience store/smoke shop at this address and briefly met with
        PARRY. PARRY directed Agents to a garage in the rear of this property
        and assisted UC Williamson in backing his box truck into the garage.

                B.      Once inside the garage, UC Williamson opened the rear
        door of the box truck and showed PARRY the load consisting of 110
        master cases (66,000 cigarettes) of unstamped Marlboro cigarettes and 30
        master cases (18,000 cigarettes) of Newport cigarettes. PARRY advised
        Agents, “I got some guys who can help [unpack the truck].” PARRY
        indicated that he would go and get the cash to pay for these cigarettes and
        agents observed PARRY exit the far end of the garage through a double
        door which lead to an attached single-family residence.

                C.     At this time, UC Labno observed numerous large plastic
        tubs sitting on several metal shelving units arranged against the walls of
        the garage. UC Labno noted that many of these tubs appeared to contain
        paper records, and that many of the tubs were also labeled—for example
        “2009 register receipts” or “2009 Store Records.”

               D.     Agents observed PARRY re-enter the garage from the
        attached single-family residence carrying a brown cardboard box
        containing a large amount of United States currency. Agents then
        observed PARRY issue instructions to a male employee who PARRY
        addressed as “MoMo;” PARRY instructed this worker to find another
        employee and begin unloading the cigarettes from the agents’ truck.

                E.     PARRY then set up a folding table and began removing
        bundles of currency from the cardboard box he had brought from the
        residence and began piling them on the table. PARRY told agents that
        “lot of these are in straps of ten [thousand].” The agents then set up an
        electronic money counter and counted the currency provided by PARRY;
        the total amount of currency provided to agents by PARRY was counted
        as $265,800.00.

                                      * * *
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                 H.     As the agents walked with PARRY back to their box truck
         UC Williamson asked PARRY when he would be ready to purchase more
         cigarettes. PARRY responded, “I’ll give you a call—we’ll try to get rid of
         these as quickly as we can.” UC Williamson then advised PARRY that he
         was shutting down his cigarette operation until January and PARRY
         acknowledged this schedule.

                 I.     At approximately 12:08 p.m., agents exited the garage and
         drove to the Wolf’s Run gas pumps. A short time later, PARRY walked
         over to agents as they fueled their vehicles. … In response to UC
         Williamson’s questions, PARRY pointed to the above described single-
         family residence attached to the garage and stated, “Yeah, that’s one place
         I live.” PARRY then advised that he owned another residence in Arizona.

                                       * * *

                          ONGOING INVESTIGATION

Phone Conversation/Ordering of Contraband Cigarettes by PARRY July-August 2012.

         40.     On July 26, 2012, SA Williamson—while still working in an
  undercover capacity in the Western District of Missouri, Kansas City, Jackson
  County, Missouri—received a telephone call from PARRY. SA Williamson
  requested to call PARRY back.

          41.   SA Williamson then called PARRY at the telephone number of
  (716) 319-8568. During the telephone call, PARRY informed SA Williamson
  that he (PARRY) needed to get more product, referring to unstamped cigarettes.
  SA Williamson informed PARRY that SA Williamson only had Marlboro and
  Newport cigarettes.

         42.    PARRY stated that he wanted the cigarettes delivered like last
  time. Specifically, in order to ensure that no one witnessed the delivery, PARRY
  would have the truck pull into his warehouse Wolf’s Run, which is located at
  1412 Route 438, Irving, New York 14081 (also known as 12795 4 Mile Level
  Road), and which is described in attachments 1 and 2.

          43.    SA Williamson offered to allow PARRY to come pick up the
  cigarettes and provided a price. SA Williamson told PARRY that the price was
  due to the cigarettes being found “on the side of the road,” implying that they
  were stolen. Based on this statement, as well as their prior dealings, I believe
  PARRY understood and knew the cigarettes to be unstamped and stolen.

         44.    SA Williamson requested PARRY call and inform SA Williamson
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 what PARRY wanted to do.

        45.    Starting on August 1, 2012, PARRY, utilizing the telephone
 number of (716) 319-8568, began exchanging text messages with SA Williamson
 (who was then located in the Western District of Missouri) to arrange the delivery
 of the unstamped cigarettes. During the exchange, PARRY explained that he
 wanted the cigarettes delivered to him and PARRY provided an order for 168
 master cases of cigarettes (2,016,000 cigarettes). The order totaled $358,560.00
 which PARRY agreed to pay in cash on delivery.

         46.     On September 11, 2012, SA Williamson called PARRY at the
 telephone number of (716) 319-8568. During the telephone call, SA Williamson
 offered to provide PARRY with additional cigarettes. SA Williamson informed
 PARRY that the additional cigarettes would be delivered and would need to be
 paid for at a later date. SA Williamson referenced these cigarettes as having
 “fallen off a truck” (stolen) and would be able to provide reduced price for these
 cigarettes.

                                       * * *

         48.     PARRY and SA Williamson arranged for the delivery to occur on
 September 26, 2012, at PARRY’s business, Wolf’s Run, which is located at 1412
 Route 438, Irving, New York, 14081 (also known as 12795 4 Mile Level Road).
 Based on the conversations and prior dealings, it is understood that the delivery is
 to be made to the warehouse/residential structure described in attachments 1 and
 2. These cigarettes have been shipped from Kansas City, Missouri, Jackson
 County, Western District of Missouri and transported in interstate commerce to
 New York State. As part of the deal, PARRY would pay the agents $358,560.00
 cash for the cigarettes. It is anticipated that ATF undercover agents, together with
 members of the ATF search team, will, during the controlled delivery of the
 cigarettes to Wolf’s Run, execute this search warrant prior to the completion of
 the undercover transaction. PARRY does not have the necessary New York State
 wholesalers tobacco license nor does he report receiving cigarettes to New York
 State. He is also not a state licensed stamping agent. Therefore, I believe
 PARRY is in violation of 18 U.S.C. § 2342(a) (receiving/possession of
 contraband cigarettes as defined in 18 U.S.C. § 2341(2)). Additionally, PARRY,
 through the use of a telephone, arranged the purchasing and receiving of stolen
 properly through interstate commerce, making him, I believe, in violation of 18
 U.S.C. §§ 659, 1343 and 1349.

                                       * * *

        52.     The offenses described in this affidavit are associated with persons
 and businesses that routinely keep records in paper, digital, and electronic forms.
 Individuals involved in fraud schemes, money laundering and CCTA violations
                                        11




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       maintain documents, letters and records relating to their illegal activities for long
       periods of time. This documentary evidence is usually secreted within their
       residences and the surrounding outbuildings; … the places in which they conduct
       their business; or in storage areas. Regulations require that distributors of
       cigarettes maintain the required records for a term of three years. According to
       [Alcohol and Tobacco Tax and Trade Bureau] and persons/entities in the industry
       the normal business practice for retention of records in the industry is even longer
       – a period of seven years. Based on the facts set forth in this affidavit it is
       believed that probable cause exist[s] that records, fruits, instrumentalities, and
       evidence of a crime pertaining to the alleged offenses are maintained at the
       location owned or occupied by the conspirators detailed in Attachments 1 and 2,
       which is incorporated and made a part of the affidavit.

                                             * * *

(Application for a Search Warrant (docs #198-1 and 217-1))(footnote omitted)

                                       III. DISCUSSION

       Defendant Parry seeks “suppression of all evidence and fruits of the search based upon an

impermissible warrant.” (Motion to Suppress (doc #198) at 5) In support of the motion,

defendant argues: (1) the search warrant issued was not supported by probable cause; (2) the

search warrant issued was not seeking relevant or probative evidence; (3) the search warrant

applied for and issued was defective and was overly broad and constituted an impermissible

general warrant; and (4) the search warrant was stale. The Court will address each of defendant=s

arguments.

       A.      Probable Cause

       In support of his argument that the search warrant was invalid because it was not

supported by probable cause, defendant Parry contends that: (1) in the transactions referenced

where Parry and Wolf’s Run allegedly provided the transportation for contraband cigarettes,

there was no information provided in the affidavit to suggest that Parry knew of the nature of the

shipments he was transporting, thus, Parry was merely a common carrier; and (2) in the

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transactions referenced where Parry allegedly received contraband cigarettes, Parry’s possession

of the cigarettes on his sovereign territory did not violate New York State tax laws, as possession

on his property is not possession within New York State. Further, defendant Parry contends that

the application alleges no basis for the tracking devices that were placed on the rental trucks and

that these devices were planted without probable cause. Finally, defendant Parry contends that

the application for the search warrant was not incorporated by reference into the warrant and, as

a result, there was no probable cause upon which to issue the warrant.

       The Eighth Circuit Court of Appeals has set forth the following with respect to probable

cause in a search warrant:

       “Probable cause to issue a search warrant exists when an affidavit ... in support of
       the warrant sets forth sufficient facts to establish that there is a ‘fair probability
       that contraband or evidence of’ criminal activity will be found in the particular
       place to be searched.” United States v. Davis, 471 F.3d 938, 946 (8th Cir.
       2006)(quoting Illinois v. Gates, 462 U.S. 213, 238 ... (1983)). The determination
       of probable cause is made after considering the totality of the circumstances.
       United States v. Gettel, 474 F.3d 1081, 1086 (8th Cir. 2007). After a judge has
       issued a search warrant upon a finding of probable cause, “that finding deserves
       great deference.” Walden v. Carmack, 156 F.3d 861, 870 (8th Cir. 1998)(citing
       Gates, 462 U.S. at 236 ...). Thus, when reviewing the sufficiency of the ...
       affidavit supporting a search warrant that was found by the issuing judge to
       provide probable cause, we give great deference to the issuing judge’s finding.
       Id.

United States v. Proell, 485 F.3d 427, 430 (8th Cir. 2007).

       Reviewing courts should not make a de novo determination of probable cause. Instead,

the decision to issue a search warrant is to be upheld if supported by a substantial basis in the

record. See Illinois v. Gates, 462 U.S. 213, 238-39 (1983). Deference should be given to

determinations of probable cause by issuing judges. As stated by the Supreme Court in Gates:

       The task of the issuing magistrate is simply to make a practical, common-sense
       decision whether, given all the circumstances set forth in the affidavit before him,

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       ... there is a fair probability that contraband or evidence of a crime will be found
       in a particular place. And the duty of a reviewing court is simply to ensure that
       the magistrate had a substantial basis for ... concluding that probable cause
       existed.

462 U.S. at 238-39.

       On September 25, 2012, United States Magistrate Judge H. Kenneth Schroeder, Jr., a

magistrate judge with the United States District Court for the Western District of New York, was

presented with the following facts: from April to October, 2011, William F. Parry and his

business, Wolf’s Run, were involved in shipping loads of contraband cigarettes from an

undercover operation in Kansas City, Missouri to various destinations, including Parry’s own

business, Wolf’s Run, at 1412 Route 438, Irving, New York 14081 (also known as 12795 4 Mile

Level Road); in December 2011, Parry purchased contraband cigarettes directly from the

undercover agents in Kansas City, Missouri, and had them delivered to his garage/warehouse at

1412 Route 438, Irving, New York 14081 (also known as 12795 4 Mile Level Road); to pay for

the contraband cigarettes delivered on December 16, 2011, Parry went to his attached residence

and obtained a brown cardboard box containing a large amount of United States currency from

which he counted out $265,800.00; during the December 16, 2011 transaction, agents observed

numerous large plastic tubs sitting on several metal shelving units arranged against the walls of

the garage/warehouse that were labeled as containing paper records; on July 26, 2012, Parry

called the undercover agent in Kansas City, Missouri to obtain more contraband cigarettes and

requested delivery “like last time” to his garage/warehouse at 1412 Route 438, Irving, New York

14081 (also known as 12795 4 Mile Level Road); this delivery was arranged to take place on

September 26, 2012 (the day following the application for the search warrant), at Parry’s

business, Wolf’s Run; and Parry had agreed to pay $358,560.00 in cash for the contraband

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cigarettes. During the controlled delivery of the contraband cigarettes on September 26, 2012,

the agents anticipated executing the search warrant.

       Given the facts presented to the issuing judge, this Court finds that Magistrate Judge

Schroeder had a substantial basis for concluding that probable cause existed that contraband or

evidence of violations of 18 U.S.C. §§ 371 (conspiracy), 659 (interstate transportation of stolen

property), 1341 and 1343 (mail and wire fraud), 1956 and 1957 (money laundering) and 2342

and 2343 (Contraband Cigarette Trafficking Act) would be found within the garage/warehouse

and attached residence at Wolf’s Run, 1412 Route 438, Irving, New York 14081.

       B.      Alleged Deficiencies in the Affidavit

       The remainder of defendant’s probable cause argument alleges deficiencies in the

affidavit given in support of the search warrant. The Court will briefly discuss each of these

alleged deficiencies.

       While defendant Parry contends that the transactions referenced where he merely shipped

contraband cigarettes could not provide probable cause because there was no information

provided that Parry knew what was contained within the shipments, the Court finds that this

argument is contradicted by the affidavit. For example, as set forth in the April 14 and 15

transaction, Parry’s employee, Tornabene, told UC Williamson that this was the ninth or tenth

deal that Parry had done with Tadaiyon and that in the other deals, Parry was the recipient of the

cigarettes. Further, Parry was in the process of getting money into an account to purchase the

contraband cigarettes in the April 14 and 15 transaction if Tadaiyon’s financing did not come

through. However, even if it were true that Parry did not know what was contained within the

shipments he merely transported (which the Court does not believe to be the case based on the


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information contained within the affidavit), there were other transactions where Parry is alleged

to have ordered and received contraband cigarettes at Wolf’s Run. These transactions certainly

provide sufficient probable cause to support the issuance of the warrant.

       While defendant Parry contends that the transactions referenced where he allegedly

received contraband cigarettes at Wolf’s Run could not provide probable cause because his

possession of the cigarettes on his sovereign territory did not violate New York State tax laws,

the Court has found that the New York state cigarette taxing scheme is applicable to defendant

on the Cattaraugus Indian Reservation. (See doc #259 at 9-10) While defendant Parry contends

that the application alleges no basis for the tracking devices that were placed on the rental trucks

and that these devices were planted without probable cause, the Court finds the facts set forth

above, from which the Court excluded the information obtained from the tracking devices,

sufficient to support probable cause.

       Finally, while defendant Parry contends that the application for the search warrant was

not incorporated by reference into the warrant, the Search and Seizure Warrant states: “An

application by a federal law enforcement officer … requests the search of [Wolf’s Run] …” and

“I find that the affidavit(s) … establish probable cause to search and seize the … property.”

(Docs #198-1 at 1 and #217-2 at 1) Attachments 1 (a detailed description of the property to be

searched), 2 (photographs of the property to be searched) and 3 (items to be seized) to the

Application for a Search Warrant were also attachments to the Search and Seizure Warrant. (See

Doc #198-1 at 39-42; Doc #217-1 at 38-41; Doc #217-2 at 2-5)

       C.      Scope of the Warrant

       Defendant Parry argues that the search warrant issued was not seeking relevant or


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probative evidence and that it was overly broad and constituted an impermissible general

warrant. In support of this argument, Parry contends that financial documents should not have

been included in the items to be seized:

       [A]s possession by Mr. Parry on his property of untaxed cigarettes does not
       constitute a New York State tax and in turn a CCTA violation, there was no
       probable cause that the property observed at the transaction (and referenced to be
       searched within the application) would contain evidence of any records, fruits or
       instrumentalities of any prior crime—specifically, bookkeeping records and other
       financial records, currency, shipping records, loan records, receipts, invoices,
       statements and locked containers capable of holding bulk cash.

(Motion to Suppress (doc #198) at 17) Again, the Court has found that the New York state

cigarette taxing scheme is applicable to defendant on the Cattaraugus Indian Reservation. (See

doc #259 at 9-10) Thus, the search for financial records of a business that was shown to be

involved in both the transportation and receipt of contraband cigarettes appears proper.

       Defendant also argues that the search of his residence was improper as the affidavit

referred to operations of his business occurring within the “warehouse type structure.” (Motion

to Suppress (doc #198) at 18) As set forth above, the affidavit also alleges that Parry retrieved

the cash to pay for the contraband cigarettes from his attached residence. (See Affidavit at ¶

39(B) and (D)) Further, the affidavit notes that in the affiant’s experience, individuals involved

in fraud schemes, money laundering and CCTA violations maintain documents relating to their

illegal activities for long periods of time and that these documents are routinely secreted within

their residences. (See Affidavit at ¶ 52)

       Defendant Parry further argues that he operated both a retail operation as well as a fuel

transport operation out of the Wolf’s Run location and that the stored records which were

observed by the undercover agents related to those businesses and, thus, there was no indication


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that boxes within the warehouse contained evidence of a crime. The Court finds that probable

cause existed to believe that evidence of a crime would be found in the place to be searched.

Officers were entitled to search for documents that evidenced the commission of a crime by

defendant Parry.

       With respect to defendant’s argument that the warrant was overly broad, the Court notes

that the constitutional standard for particularity of description in a search warrant is met if “the

description is sufficiently definite so as to enable the officer with the warrant to reasonably

ascertain and identify the ... objects to be seized.” United States v. Coppage, 635 F.2d 683, 686-

87 (8th Cir. 1980)(citing Steele v. United States, 267 U.S. 498, 503-04 (1925)). “‘The degree of

specificity required will depend on the circumstances of the case and on the type of items

involved.’   [United States v. Horn, 187 F.3d 781, 788 (8th Cir. 1999).]             The particularity

requirement ‘is a standard of ‘practical accuracy’ rather than a hypertechnical one.’ United

States v. Peters, 92 F.3d 768, 769-70 (8th Cir. 1996).” United States v. Summage, 481 F.3d

1075, 1079 (8th Cir. 2007), cert. denied, 552 U.S. 1104 (2008). With respect to a case involving

fraud, the Eighth Circuit Court of Appeals has provided the following further guidance on the

standard necessary for particularity:

               We have recognized that fraud cases present unique particularity
       problems. We have stated that “a search warrant involving a scheme to defraud is
       sufficiently particular in its description of the items to be seized if it is as specific
       as the circumstances and nature of activity under investigation permit.” United
       States v. Saunders, 957 F.2d 1488, 1491 (8th Cir. 1992)(quotation and citation
       omitted). As a result, we have recognized a permeated-fraud exception that
       allows the government to seize almost every record of a business when evidence
       shows that fraud in the business was pervasive; in United States v. Kail, we
       explained:

               While the search warrant in this case was broad in the sense that it allowed
               inspectors to seize almost all of the business records of Coin & Stamp

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               Gallery, we would conclude that under the particular facts of this case the
               scope of the warrant was justified. This is because it would not be
               possible through a more particular description to separate those business
               records that would be evidence of fraud from those that would not since
               there was probable cause to believe that fraud permeated the entire
               business operation. We would therefore affirm the district court’s finding
               that the warrant was sufficiently particular.

       804 F.2d 441, 445 (8th Cir. 1986). …

United States v. Sigillito, 759 F.3d 913, 924 (8th Cir. 2014), cert. denied, 2015 WL 133494 (Jan.

12, 2015).

       Attachment 3 to the affidavit and search warrant sets forth the items to be seized as

follows:

       Unstamped/improperly stamped cigarettes

       All bookkeeping records and other financial records including General Ledger,
       General Journals, all Subsidiary Ledgers and Journals, Gross Receipts and income
       records, Cash Receipts and Disbursement records and/or Journals, sales and
       Purchase records and/or Journals, Accounts Receivable and Payable Ledgers and
       records, Bad Debt records, Cost of Goods Sold records, Loan Receivable and
       Payable Ledgers, Voucher Register and all sales and expense invoices including
       all invoices documenting expenses paid by cash (currency) or bank check (cashier
       or teller checks) and retained copies of any bank checks (cashier or teller checks.)

       Items of the crime such as US currency.

       All shipping records including Bill of Ladings, shipping instructions, logs, and
       invoices.

       All financial statements, bookkeeper’s and/or accountant’s workpapers used in the
       preparation of business records or tax returns. Retained copies of all federal and
       state income, payroll, monthly cigarette returns or reports and excise tax returns.

       All bank account records including bank statements, deposit slips, records
       revealing the identity of checks drawn on the account, checks deposited, all debit
       and credit memos, and all wire transfers.

       All financial records reflecting investments in stocks, bonds, mutual funds,
       overseas accounts, and other business ventures.

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       All loan records including applications, financial statements, loan collateral, credit
       and background investigations required, loan agreements, notes or mortgages,
       settlement sheets, contracts, retained copies of checks issued for loans, repayment
       records, including records revealing the date, amount and method of repayment
       (cash or check), checks used to repay loans and a record disclosing the total
       amount of discount or interest paid annually, records of any liens, loans
       correspondence files and internal memoranda relative to these loans.

       Appointment books, diaries, or calendars containing appointments with cigarette
       manufactures, distributors, retail stores, smoke shops, and individuals.

       Receipt books, invoices, statements, journals and ledgers showing customer
       billings and payments.

       Locked containers capable of holding bulk cash, such as safes or lock boxes.

(Doc #198-1 at 42; Doc #217-1 at 41; Doc #217-2 at 5) While this Court may have required

language that tied the documents to the sale and transportation of cigarettes and put some date

restrictions on the documents, given the circumstances of this case, the Court finds the warrant

sufficiently particular with regard to the items to be seized.

       D.      Staleness of Information

       Finally, defendant Parry argues that “[a]s the alleged December 16, 2011 sale took place

nine months prior to the application and execution of the warrant, and no criminal transactions

took place between the December 16 transaction and the issuance of the September 25, 2012

warrant, the warrant was stale.” (Motion to Suppress (doc #198) at 21)

       Contrary to defendant’s argument, the facts before Magistrate Judge Schroeder clearly

show that criminal transactions took place between the December 16, 2011 transaction and the

issuance of the September 25, 2012 warrant. Specifically, on July 26, 2012, Parry called the

undercover agent in Kansas City, Missouri to obtain more contraband cigarettes and requested

delivery “like last time” to his garage/warehouse at 1412 Route 438, Irving, New York 14081

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(also known as 12795 4 Mile Level Road); this delivery was arranged to take place on September

26, 2012 (the day following the application for the search warrant), at Parry’s business, Wolf’s

Run; and Parry had agreed to pay $358,560.00 in cash for the contraband cigarettes. During the

controlled delivery of the contraband cigarettes on September 26, 2012, the agents anticipated

executing the search warrant. Where “the affidavit ‘describes a continuing pattern of behavior,’

and the older information corroborated more current reports linking the address to illegal

activity, the affidavit was not stale ‘when taken as a whole.’”         United States v. Garcia-

Hernandez, 682 F.3d 767, 772 (8th Cir. 2012)(quoting United States v. Palega, 556 F.3d 709, 715

(8th Cir. 2009)). The facts provided in support of probable cause were not stale.

       E.      The Leon Good Faith Exception

       Even if probable cause did not exist for the warrant at issue (which this Court does not

believe to be the case), the Leon good faith exception would support the admissibility of the

evidence seized pursuant to the warrant since it appears that the officers executing the warrant

were acting in “objectively reasonable reliance” on a warrant issued by a neutral judge. See

United States v. Leon, 468 U.S. 897, 922 (1984); United States v. Murphy, 69 F.3d 237, 241 (8th

Cir. 1995), cert. denied, 516 U.S. 1153 (1996).

       The Eighth Circuit has set forth the following with respect to exceptions to good faith

reliance:

       Ordinarily, a police officer cannot be expected to question a judge’s probable
       cause determination. Suppression is an appropriate remedy if the judge, in issuing
       the warrant, was misled by information in the affidavit that the affiant knew or
       would have known it was false except for the affiant’s reckless disregard for the
       truth. Evidence should be suppressed only if the affiant-officer could not have
       harbored an objectively reasonable belief in the existence of probable cause.

Murphy, 69 F.3d at 241 (quoting United States v. Gibson, 928 F.2d 250, 253-54 (8th Cir. 1991)).

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Stated another way, there are four “exceptions” wherein reliance upon an invalid search warrant

is per se unreasonable: (1) the affiant misled the judge by including information in the affidavit

that the affiant knew was false or would have known was false, except for a reckless disregard

for the truth; (2) no reasonably well-trained officer could rely on the warrant, as it was based on

an affidavit so lacking in indicia of probable cause as to render official belief in its existence

entirely unreasonable; (3) the judge wholly abandoned his neutral and detached position and

acted as a rubber stamp; or (4) the warrant itself is so facially defective that the executing officer

cannot presume its validity. See United States v. Leon, 468 U.S. 897, 922-23 (1984). The

“exceptions” to good faith reliance do not apply in this case.

          While defendant Parry contends that “in light of the agent’s actions in securing the

warrant,3 the good faith exception should not apply,” the information before the Court does not

suggest any improprieties on the part of the agents. See United States v. Hasan, 718 F.3d 338,

344 (4th Cir. 2013)(“the mere fact that ATF sold untaxed cigarettes does not render their

investigation outrageous”).




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    Defendant Parry sets forth the following as the actions of the agents:

                  At the time the warrant was issued, the agents were aware … that Mr.
          Parry was not a party that had been engaged in receiving cigarettes directly from
          the undercover warehouse, thereby knowing that they were allegedly taxable
          “contraband.” Further, that the agents initiated the transaction and never told Mr.
          Parry that the shipment was “contraband” cigarettes. The agents orchestrated and
          took part in the untaxed cigarette scheme from day one. From providing to
          delivering the alleged contraband cigarettes to the parties referenced in the
          affidavit—including Parry.

(Motion to Suppress (doc #198) at 15)
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                                       IV. CONCLUSION

       Based on the foregoing, it is

       RECOMMENDED that the Court, after making an independent review of the record and

applicable law, enter an order denying defendant Parry’s Motion to Suppress (doc #198).

       Counsel are reminded they have fourteen days from the date of receipt of a copy of this

Report and Recommendation within which to file and serve objections to same. A failure to file

and serve objections by this date shall bar an attack on appeal of the factual findings in this

Report and Recommendation which are accepted or adopted by the district judge, except on the

grounds of plain error or manifest injustice.



                                                              /s/ Sarah W. Hays
                                                              SARAH W. HAYS
                                                     UNITED STATES MAGISTRATE JUDGE




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